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                     EXHIBIT E
                                             Case 1:19-cv-10203-IT Document 160-5 Filed 01/20/22 Page 2 of 2
                                                                                                                                                 LarsonP3000095
To: Whitney Scharer

Do you know what letter Dawn is referring to?

                                                                 In a panic I researched all the big plagiarism scandals this afternoon, and they're literally all from nonfiction
                                                                 books

                                                                                                  Yes- it was a letter she wrote to her own kidney recipient and posted on FB

Oh totally-did you see the Jill Bialosky one? Not so good. Literally lifting paragraphs from wikipedia!

                                                                                                                          No, don't know that one! Looking up now, obsessively



    Tap to Load Preview




 nytimes.com              >
                                                                       I def. remember writing down certain phrases from that letter, because I thought it was so weird, and I
                                                                       wouldn't be surprised if I ended up using some, or phrases close to them. That's the shitty part. The
                                                                       problem is I don't know what they are- I don't have a copy of the letter, and I don't remember

and you can't find the letter?

                                                                 I feel like a COMPLETE idiot, but also super defensive, because Jesus, it's fiction, and people pull language
                                                                 from real life all the time!

                                                                                                                                                        No, but I will look again!

If you remember basically when it was from I could scour facebook

                                                                                                                                                       Oh my god- could you??

Don't feel like an idiot. I think even if you use phrases from it you'd be ok

                                                                                                                                                      Were you in that FB group?

I think so?
